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ATTACHMENT

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MICHAEL WELNER, M.D.

The Forensic Panel
224 West 30th Street, Suite 806
New York, New York 10001
Tel: (212) 535-9286
Fax: (212) 535-3259
Email: drwelner@forensicpanel.com

BOARD CERTIFICATION

Diplomate, Psychiatry, American Board of Psychiatry and Neurology 1993
Diplomate, Forensic Psychiatry, American Board of Psychiatry and Neurology 1996
Recertification 2006

Certified, Advanced Clinical Psychopharmacology, American Society of Clinical Psychopharmacology 2003

Recertification 2007
Diplomate, Disaster Medicine, American Board of Disaster Medicine 2007
EXPERIENCE
New York University School of Medicine, New York, NY 1992-Present

Ciinical Associate Professor, Department of Psychiatry
¢ Teach medical school courses
¢ Psychopharmacology, forensic psychiatry
¢ Guest discussant for case conferences at affiliated hospitals

Lenox Hill Hospital, New York, NY 1995-2001
Attending Physician, Consultation Psychiatry Service

¢ Supervision of residents in case management

¢ Consultation to medical units on psychiatric care and forensic psychiatric issues
Executive Committee, Department of Psychiatry (1997-1999)

The Forensic Panel, New York, NY 1998-Present
Chairman
¢ Peer-reviewed forensic consultation service
¢ Forensic case consultation, establishing quality and ethical standards in forensic
analysis and report writing and trial preparation, peer-review of colleagues
Internship Supervisor
¢ John Jay College, Queens College, New York University, Harvard University,
Boston College University, Cornell University, Union College, University of
Florida, Douglas College, George Washington University, University of Buffalo,
American University of Rome, Freie University (Berlin), Rutgers University,
Davidson College, and others

Duquesne University School of Law, Pittsburgh, PA 1998-Present
Adjunct Professor of Law
¢ Advisory Board, Institute of Forensic Sciences

Private Practice, New York, NY 1992-Present
¢ Pharmacologic and psychotherapeutic treatment of adults
¢ Civil and criminal forensic psychiatry

 
 

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EXPERIENCE CONTINUED...

New York State Supreme Court 1995-Present
¢ Panel of “Highly Qualified Independent Psychiatrists”

Lagos State University School of Medicine, Lagos Nigeria 2007 — present
Adjunct Professor
¢ Advisor and contributor to forensic science medical education
ABC News, New York, NY 2007
Special Consultant

¢ Advisor to Law and Justice Unit on stories of forensic and law interest
¢ Regular written contributor to ABCNews.com

Welner Enabled, New York, NY 2003-06
President
¢ Medical examination products for disabled and infirm

The Forensic Echo, New York, NY 1996-2002
¢ Publisher, Editor-In-Chief (monthly journal of law, psychiatry and public policy)

¢ Legal case review & commentary, writing news stories, medical editing

New York Medical College, New York, NY 1997-2001
Adjunct Assistant Professor of Psychiatry
¢ Consulting on the building of forensic program

Bellevue Hospital, New York, NY 1992-97
Altending Physician, Forensic Psychiatry Service (1992-95)
¢ Inpatient care of inmates in the New York City and State correctional systems
¢ Psychiatric consultation to medical corrections units
Coordinator, Competency Evaluation Services (1993-94)
¢ Independent examination & testimony in hospital medication grievance hearings
¢ Evaluations of defendants’ fitness to proceed to trial for Manhattan, Brooklyn,
and Bronx courts in particularly complex cases

New York Comprehensive Care Center, New York, NY 1992-94
Ciinical Director, Psychiatric Evaluation and Treatment Services
¢ Evaluation and treatment of patients presenting in criminal and civil (including
tort, workers’ compensation, and no fault) proceedings

Booth Memorial Medical Center, Queens, NY 1991-92
¢ Emergency and consultation psychiatry, crisis intervention
¢ Monitoring of medications for outpatients

Regent Hospital, New York, NY 1991-92
¢ Adolescent psychiatry
¢ Crisis intervention and intake

 
 

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PROFESSIONAL HONORS

Board Member, Disaster Medicine, American Association of Physician Specialists
Board of Directors, The Annapolis Center for Science-Based Public Policy
Editorial Board, Forensic Science, Medicine, & Pathology
Board of Directors, Nebraska Institute of Forensic Sciences
Vice Chairman
Working Group, Serial Murder, Federal Bureau of Investigation
Editorial Board of Advisors, Encyclopedia of Forensic & Legal Medicine, Academic Press
Contributor, Legislation on Capital Eligibility & Retardation States of Pennsylvania, Texas
National Advisory Board, Albany State U. Program in Forensic Sciences

Alssociate Editor, Practical Reviews in Forensic Medicine and Sciences, Educational Reviews Inc.

Editorial Board, Journal of Practicing Forensic Psychology

Board of Directors, Association of Law & Medical Investigative Experts
Physician Advisory Board, Professional Solutions

Fellow, American College of Forensic Examiners

Excellence in Medical Student Education Award, American Psychiatric Association

FUNDED RESEARCH

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2005-present
2004-present
2004-present
2002-present
2007-present
2004-2006
2002-2006
2002-2004
2002-present
1998-2004
1998-present
2000-2002
1999-2001
1998 - 2004
1997

Standardizing Forensic-Legal Definitions of Depraved Crimes. MHS, Inc. Principal Investigator 2001 - 2005

Suspect Vulnerabilities, Interrogation Conditions & Suspect-Interrogator Dynamics that

2004 - 2005

Contribute to False Confessions. Grant from George Washington University. Principal Investigator

PRESENTATIONS

Yale University School of Law, New Haven, CT
‘Seeing Life Through Death: Lessons from Forensic Psychiatry’

Society of Professional Investigators, New York, NY
When Forensic Psychiatry Meets Case Investigation: How We Practice’

International Academy of Forensic Sciences, Annual Meeting, New Orleans, LA
‘Current & Unresolved: Ethical Challenges Confronting Forensic Psychiatry’

Where Fact Meets Fiction, Duquesne University School of Law, Pittsburgh, PA
‘Scientific Consulting for the News’

Where Fact Meets Fiction, Duquesne University School of Law, Pittsburgh, PA
‘Panel: Forensic Science and the News: Opportunities and Limitations’

Nebraska Institute of Forensic Sciences, Annual Conference, Lincoln, NE
‘Lessons in Psychiatric Resilience from Foreign Disasters’

War, Terror, and Psychology, Yeshiva University, New York, NY
‘Defining Evil, the Depravity Standard, & War Crimes’

Preserving Evidence, Saving Lines, Duquesne University School of Law, Pittsburgh, PA
‘Lessons in Psychiatric Resilience from Foreign Disasters’

Apr. 2009

Sep. 2008

Jul. 2008

Apr. 2008

Apr. 2008

Oct. 2007

Jun. 2007

Mar. 2007

 
 

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- PRESENTATIONS CONTINUED...

American Academy of Forensic Sciences, Annual Meeting, San Antonio, TX
‘Unresolved: Psychiatry Ethical Dilemmas, Current and Coming’

American Academy of Forensic Sciences, Annual Meeting, San Antonio, TX
‘Antidepressant (SSRI) Defenses: Guidelines for Assessment’

And Justice for All, Duquesne University School of Law, Pittsburgh, PA
‘Forensic Psychiatric Peer-Review in Action: Capital Mitigation’

And Justice for All, Duquesne University School of Law, Pittsburgh, PA
‘Panel: Regulating Admissibility under FRE and Dauberf

California District Attorney’s Association, San Luis Obispo, CA
‘Mental Health and Capital Mitigation: Present, Future, and Delusional’

American Academy of Forensic Sciences, Annual Meeting, Seattle, WA
‘Interdisciplinary Forensic Peer-Review in Action: Death Investigation’

American Academy of Forensic Sciences, Annual Meeting, Atlanta, GA
‘International Perspectives on What is a Depraved Crime’

Association of Government Attorneys in Capital Litigation, Washington, DC
‘Truth, Fiction, and Nuance of Brain Damage and Retardation Defenses’

Duquesne University School of Law, Pittsburgh, PA
‘Forensic Psychiatry and Psychology: Practice and Ethics’

Duquesne University School of Law, Pittsburgh, PA
‘Forensic Interviewing and Police Interrogation: Learning from the Other’

Grand Rounds, Cooper Hospital, Camden, NJ
‘Psychopathy, Media, and the Psychology at the Root of Terror’

Duquesne University School of Law, Pittsburgh, PA
‘The Insanity Defendant: Answers in the Unexplained’

Tracking Terrorism in the 21 Century, Wecht Institute of Forensic Sciences Pittsburgh, PA
‘Psychopathy, Media, and the Psychology at the Root of Terror’

Annual Training Retreat, New York Prosecutors Training Institute, Syracuse, New York
“The Capital Defendant as Portrayed by Psychiatry’

Duquesne University School of Law, Pittsburgh, PA
‘Ethics and the Forensic Examination’

Duquesne University School of Law, Pittsburgh, PA
‘Forensic Psychiatry — A Range of Responsibilities’

Feb. 2007

Feb. 2007

Apr. 2006

Apr. 2006

Mar. 2006

Feb. 2006

Feb. 2006

July 2005

Mar. 2005

Mar. 2005

Nov. 2004

Oct. 2004

Oct. 2004

July 2004

June 2004

June 2004

 
 

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PRESENTATIONS CONTINUED...

Distinguished Lecturer in Legal Medicine, American College of Legal Medicine, Las Vegas, NV
‘Death Investigation and Medical Malpractice’

United States Military Academy, Brooklyn, NY
‘Forensic Psychiatry Consultation in Criminal Cases — Ethics and Practice’

Invited Testimony, New York State Assembly, New York, NY
‘Psychiatric Impact of Violent Video Games’

Symposium on JFK Assassination, Duquesne Law School, Pittsburgh, PA
‘Forensic Psychiatry’s Importance in Resolving the Assassination Mystery’

Grand Rounds, Robert Wood Johnson Medical Center, Camden, NJ
‘The Depravity Scale: Civil and Patient Care Implications of Researching Evil’

North Carolina Homicide Investigator’s Association, Atlantic Beach, NC
‘False Confessions: Lessons for Homicide Investigators’

Keynote Address, North Carolina Homicide Investigator’s Association, Atlantic Beach, NC

Mar. 2004

Mar. 2004

Dec. 2003

Nov. 2003

Nov. 2003

Oct. 2003

Oct. 2003

‘The Depravity Scale: How Investigations Impact on the Legal Determination of Depravity’

Nebraska Institute of Forensic Sciences, Lincoln, Nebraska
‘False Confessions & DNA Exonerations: Research, and Realities’

Keynote Address, Reigning in the Forensic Sciences Revolution, Lincoln, Nebraska
“The Depravity Scale: Standardizing Evil, Legal & Investigative Ramifications’

Duquesne University School of Law, Pittsburgh, PA
“Ethics and the Forensic Examination: Confronting Dilemmas’

Duquesne University School of Law, Pittsburgh, PA
‘Forensic Psychiatry and Psychology: Civil and Criminal Roles’

American Psychiatric Association, Annual Meeting, San Francisco, CA
‘Evil Beyond Crime: Civil Assessment and the Clinical Reckoning of Evil’

American Psychiatric Association, Annual Meeting, San Francisco, CA
‘Frontiers in Standardizing the Definition of Evil in Criminal Law’

Kirby Forensic Psychiatric Center, Grand Rounds, New York NY
‘Sorting Out the Female Defendant: Clinical & Forensic Considerations’

Duquesne University School of Law, Alumni Reunion Lecture, New York, NY
‘Assessing Competency to Invest’

Ontario Psychological Association, Keynote Address, Toronto, Ontario, Canada
‘The Mental Health Professional in the Press’

Association of the Bar of the City of New York, New York, NY
‘The Psychiatric Assessment in ADA and FMLA Cases’

June 2003

June 2003

June 2003

June 2003

May 2003

May 2003

Mar. 2003

Mar. 2003

Feb. 2003

Feb. 2003

 
 

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PRESENTATIONS CONTINUED...

American Academy of Forensic Sciences, Annual Meeting, Chicago, IL
‘Disputed Confessions: Guidelines for Assessment’

American Academy of Forensic Sciences, Annual Meeting, Chicago, TL
‘Assessing Families and Victims of Terror in Personal Injury Cases’

American Academy of Forensic Sciences, Annual Meeting, Atlanta, GA
‘Is There Evil Beyond Crime? Refining Criminal and Civil Definitions of Depravity’

Conference on Death Penalty & Law, John Jay College of Criminal Justice
‘The Depravity Scale: A Quest for Fairness

Conference on Domestic Violence & Child Issues, Duquesne U. School of Law, Pittsburgh, PA
‘Battered Woman vs. Antisocial Personality’

Manhattan Psychiatric Center, Grand Rounds, New York, NY
‘The Role of Psychiatry and Research to Define Evil’

Duquesne University School of Law, Pittsburgh, PA
‘Ethics and the Forensic Examination’

Duquesne University School of Law, Pittsburgh, PA
‘Assessing Psychiatric Malpractice and Emotional Distress’

New England Consortium of Public Employment Labor Boards, Waterville, NH
‘ADA and Emotional Distress After Mass Casualty Disasters’

Holland & Knight, New York, NY
‘Emotional Distress Claims: Working With the Forensic Psychiatrist’

American Psychiatric Association, Annual Meeting, Philadelphia, PA
‘Dilemmas in Defining Evil in Criminal Law’

American Psychiatric Association, Annual Meeting, Philadelphia, PA
‘Medication Defenses: Guidelines for Assessment’

American Psychiatric Association, Annual Meeting, Philadelphia, PA
“The Depravity Scale: Toward a Standardized Definition’

American Psychiatric Association, Annual Meeting, Philadelphia, PA
‘Sadism and Forensic Psychiatry’

Middletown Psychiatric Center, Grand Rounds, Middletown, NY
‘Mentally Retarded Sex Offenders: Forensic & Treatment Insights’

Society of Medical Jurisprudence, Judiciary Committee, New York, NY
‘Defining Evil Through Forensic Science’

Tulane University School of Medicine, Chester Scrignar Mem. Lecture, New Orleans, LA
‘The Depravity Scale: Can Psychiatry Define Evil?’

Feb. 2003

Feb. 2003

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Nov. 2002

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PRESENTATIONS CONTINUED...

Pennsylvania State Senate, Judiciary Committee, Harrisburg, PA
‘Retardation and the Death Penalty: Special Considerations’

Association of the Bar of the City of New York, New York, NY
‘Working With Psychiatrists in Resolving ADA Cases’

American Academy of Forensic Sciences, Annual Meeting, Atlanta, GA
‘Medication Defenses: Guidelines for Assessment’

American Academy of Forensic Sciences, Annual Meeting, Atlanta, GA
“Medication Defenses: Myths & Facts’

American Academy of Forensic Sciences, Annual Meeting, Atlanta, GA
“Toward a Standardized Legal Definition of Evil’

Association of the Bar of the City of New York, New York, NY
‘Americans with Disabilities Act and September 11’

Industrial Relations Research Association, New York, NY
‘Post-Traumatic Stress and 9/11: Employment Law Implications’

Duquesne University School of Law, Pittsburgh, PA
‘Psychiatric Consultation in Capital Cases’

New Jersey Prosecutors Association, Monmouth, NJ
‘Peer-Review in Capital Cases: Steven Fortin’

New York Prosecutors Training Institute, Advanced College, Syracuse, NY
‘Retardation Issues in Capital Cases’

American Psychiatric Association, Annual Meeting, New Orleans, LA
“The Depravity Scale: Development and Potential’

American Psychiatric Association, Annual Meeting, New Orleans, LA
‘How Psychiatry Has Defined Evil’

American Psychiatric Association, Annual Meeting, New Orleans, LA
‘Psychosis and Mass Homicide’

American Psychiatric Association, Annual Meeting, New Orleans, LA
“‘Drug-Facilitated Sex Assault’

American Psychiatric Association, Annual Meeting, New Orleans, LA
‘Black Rage: Myths and Realities’

American Psychiatric Association, Annual Meeting, New Orleans, LA
‘Ethnic Rage: Guidelines for Forensic Assessment’

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PRESENTATIONS CONTINUED...

American Bar Association, Criminal Law Division, Albuquerque, NM
“Daubert & Expert Testimony: Peer Review & The Forensic Panel”

American Bar Association, Criminal Law Division, Albuquerque, NM
“Daubert & Expert Testimony: Why Peer Review is Needed”

Duquesne University School of Law, Pittsburgh, PA
“The Depravity Scale: Current Research”

American Academy of Forensic Sciences, Annual Meeting, Seattle, WA
“The Drug-Facilitated Sex Assaulter’

American Academy of Forensic Sciences, Annual Meeting, Seattle, WA
‘Subtypes of Drug-facilitated Sex Assault and Paraphilias’

American Academy of Forensic Sciences, Annual Meeting, Seattle, WA
‘Fun with Diagnosis: Tricks of the Trained’

American Academy of Forensic Sciences, Annual Meeting, Seattle, WA
‘Diagnosis for the Capital Defender’

American Academy of Forensic Sciences, Annual Meeting, Seattle, WA
‘A Stab at Insanity: Reading Mental States from Knife Wounds’

New York Prosecutors Training Institute, Grand Rounds, West Point, NY
‘Working with and Opposing Psychiatrists in Capital Cases’

Rockland Psychiatric Center, Grand Rounds, Orangeburg, NY
‘Black Rage: Clinical and Forensic Applications’

Duquesne University School of Law, Forensic Science & the Law , Pittsburgh, PA
‘Forensic Psychiatry: Assisting Tomorrow’s Court”

American College of Forensic Examiners, Annual Meeting, Las Vegas, NV
‘Distinguishing the Drug-Facilitated Rapist’

Cabrini Medical Center, Grand Rounds, New York, NY
‘Black Rage, White Supremacists, and Psychiatry’

New York State Bar Association, Transatlantic Conference in Employment Law, Dublin, Ireland
“The Industrial Psychopath’

Lenox Hill Hospital, Inpatient Case Conference, New York, NY
‘Cross-Cultural Issues in Domestic Violence”

American Society of Clinical Psychopharmacology, Annual Conference, San Juan, PR
“Treatment of Violence — State of the Art’

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PRESENTATIONS CONTINUED...

Mid-Hudson Psychiatric Center, Grand Rounds, Middletown, NY
‘Parents Killing Children: SIDS, Filicide and Beyond’

Lenox Hill Hospital, Inpatient Case Conference, New York, NY
“Managing the Complex Anxiety Patient’

Cutting Edge Collaborations In Sexual Assault, CLE Conference, Brooklyn, NY
‘Sex Offender Prognosis and Its Evaluation’

Duquesne University School of Law, Distinguished Lecturer Series, Pittsburgh, PA
“Psychtatric-Legal Frontiers in Female Criminality’

Fordham University School of Law, New York, NY
‘Peer-Review, Ethics and the Future of Forensic Consultation’

The Osler Institute, Forensic Psychiatry Board Review Program, Chicago, IL
“Crime Scene Analysis’

The Osler Institute, Forensic Psychiatry Board Review Program, Chicago, IL
‘Psychological Autopsy for Civil Courts’

The Osler Institute, Forensic Psychiatry Board Review Program, Chicago, IL
‘Recent Scientific Advances in Forensic Psychiatry’

The Osler Institute, Forensic Psychiatry Board Review Program, Chicago, IL
‘Psychiatry and the Death Penalty’

Lenox Hill Hospital, Grand Rounds, New York, NY
‘Neonaticide & Other Frontiers of Female Antisocial Behavior’

Kings County District Attorney’s Office, Brooklyn, NY
‘The Criminal Responsibility Evaluation’

Mid-Hudson Psychiatric Center, Grand Rounds, Middletown, NY
‘Scientific Advances in Female Antisocial Behavior’

Fordham University School of Law, New York, NY
‘The Insanity Defense: What, Why & Who’

Society for Liaison Psychiatry, Distinguished Lecturer Series, New York, NY
‘Hospital Consultation and Recent Court Decisions’

National College of District Attorneys, Colorado Springs, CO
‘How to Work With or Against a Forensic Psychiatrist’

American Psychiatric Association, Annual Meeting, Toronto, Canada
‘Forensic Developments in the New Era of Prescribing’

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Jan. 2000

May 1999

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PRESENTATIONS CONTINUED...

Duquesne University School of Law, Pittsburgh, PA Mar. 1998
‘A Psychiatric Standard of Evil’

Allegheny County District Attorney’s Office, Pittsburgh, PA Mar. 1998
‘Psychiatric Clues To Solving Sex Homicide’

Lenox Hill Hospital, Inpatient Case Conference, New York, NY Jan. 1998
‘Evaluation and Treatment of Sex Offenders’

Institute for Psychiatric Services, Annual Meeting, Washington, DC Oct. 1997
_ ‘Medical Treatment of the Repeatedly Violent’

Mid-Hudson Psychiatric Center, Grand Rounds, Middletown, NY Sept. 1997
‘Recent Advances In Forensic Hospital Practice’

American Psychiatric Association, Annual Meeting, San Diego, CA May 1997
‘Medical Treatment of the Repeatedly Violent’

Rockland Psychiatric Center, Grand Rounds, Orangeburg, NY Apr. 1997
‘Legal Trends In Hospital Based Psychiatric Care’

Association of Law, Medical, & Investigative Experts, New York, NY Mar. 1997
‘Collaborating With Other Forensic Disciplines’

Alliance of Mentally Ill, ‘Ask the Doctor’, New York, NY Mar, 1997
‘Diagnosis and Treatment of Bipolar Disorder’

American Academy of Psychiatry and the Law, Annual Meeting, San Juan, PR Oct. 1996
‘Medical Treatment of the Repeatedly Violent’

American Psychiatric Association, Annual Meeting, New York, NY May 1996
‘Psychosurgery in the Refractory Violent: A Debate’

Beth Israel Medical Center, Psychopharmacology Series, New York, NY Nov. 1995
‘Practical treatment of mood disorders with co-morbid conditions’

United We Stand America, National Policy Conference, Dallas, TX Aug. 1995
‘Health Care Reform: Consumer Privilege and Responsibility’

Hate Crimes Language Conference, International Center for the Disabled, New York, NY Jul. 1995
‘Defining Bias Crimes Against the Mentally IP

New York State Senate Commission On the Mentally Il, New York, NY Oct 1993
‘Expert testimony reviewing commitment criteria’

Beth Israel Medical Center, Grand Rounds, New York, NY May 1992
‘Pharmacotherapy for the Habitually Violent’
 

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PUBLICATIONS

“Disaster Psychiatry” Welner M, Page J (book chapter) In: Disaster Preparedness for Health Care Facilities
Canadian Centre of Excellence in Emergency Preparedness (accepted for publication)

“Educator Sexual Abuse: Two Case Reports.” Burgess A, Welner M, Willis D Journal of Child Sexual Abuse
(accepted for publication)

“Antipsychotics Drugs and Interactions: Implications for Criminal and Civil Forensics.” (book chapter)
Welner, M. Opler L. In: Mozayani A, Raymon L (ed) Handbook of Drug Interactions: A Clinical
and Forensic Guide. Haworth Press. London. (in print).

“Forensic Psychiatry.” (book chapter) Welner, M. In: Wecht C., (ed) Forensic Sciences. Matthew Bender.
New York. 2009. (in print)

“Recovered Memory.” (book chapter) Greiffenstein, M; Seward, J; Welner, M. In: Wecht C., (ed) Forensic
Sciences. Matthew Bender. New York. 2009 (in print)

“Drug-Facilitated Sex Assault” Welner M Welner B In: Hazelwood R Burgess A Practical Aspects of Rape
Investigation; A Multidisciplinary Approach Taylor & Francis 2008 pp 445-462

“Classifying Crimes by Severity: From Aggravators to Depravity” Welner M. In: Douglass J, Ressler R,
Burgess A FBI Crime Classification Manual. Jossey-Bass 2007 pp 55-72

“Neonaticide” Welner M. In: Douglass J, Ressler R, Burgess A FBI Crime Classification Manual. Jossey-Bass
2007 pp 164-169

“Religion-Inspired Homicide” Welner M. In: Douglass J, Ressler R, Burgess A FBI Crime Classification
Manual. Jossey-Bass 2007 pp 195-200

“Forensic Psychiatry and Psychology.” (book chapter) Welner, M, Ramsland K. In: Wecht C, Rago J.
Foundations in Forensic Science and the Law CRC Press London. 2006 99 475-493

“Neuropsychological Testing: Ethical Applications for Law and Public Policy” Seward, J Welner M 2006
Annapolis Center for Science and Public Policy

“Mental Handicap and Learning Disability” (book chapter) Welner, M. In: Encyclopedia of Forensic & Legal
Medicine, Academic Press. London. 2005 p 388-405

“The Depravity Standard: A Future Role of Forensic and Behavioral Evidence Analysis” Welner M. In:
Petherick, W. The Science of Criminal Profiling, Barnes & Noble. London. 2005 pp 150-152

“The Importance of Deciphering Motives, & How they Differ” Welner, M. Empire State Prosecutor. 2005
2(3) pp24-26

“Child Sex Abuse Accommodation Syndrome” Welner, M. Empire State Prosecutor. 2004 1(3)

“Psychopathy, Media, and the Psychology at the Root of Terrorism” (book chapter) Welner, M. In: Biological
and Chemical Warfare Lawyers and Judges Publishing Tucson Az. 2004 pp 385-421

 
 

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PUBLICATIONS CONTINUED...

“Motives in Crime.” (book chapter) Welner, M. In: Dominick J et al. Crime Scene Investigation Elwin Street
London. 2004 pp 126-135

“Competency to Waive Miranda and the Grisso Scales” Welner, M. Empire State Prosecutor. 2004 1(2) pp 30-
32

“Legal Relevance, Psychiatry Realities, and the Methodology for Standardized Distinction of “Heinous” and
“Evil” Crimes” Welner M. Jl American Academy of Psychiatry & the Law. 31(4) 2003.

“Hidden Diagnosis and Misleading Testimony in Domestic Violence: How Courts Get Shortchanged”
Welner M. Pace Law Review Fall 2003 24(1) 193-209

“Confession Evidence and the Gudjonsson Scales” Welner, M. Empire State Prosecutor. 2003 1(1) pp 19, 27-
29

“Psychotropic Medications and Crime.” (book chapter) Welner, M. In: Mozayani A, Raymon L (ed)
Handbook of Drug Interactions: A Clinical and Forensic Guide. Haworth Press. London. 2003. pp
631-645.

“Antipsychotics Drugs and Interactions: Implications for Criminal and Civil Forensics.” (book chapter)
Welner, M. In: Mozayani A, Raymon L (ed) Handbook of Drug Interactions: A Clinical and
Forensic Guide. Haworth Press. London. 2003. pp 187- 215.

“What Chevron v. Echazabal Means for Workers in Psychiatric Treatment.” Welner, M. New York State Bar
Association Labor & Employment Newsletter. Winter 2002 27(4) pp 9-10.

“Recovered Memory.” (book chapter) Seward, J; Welner, M. In: Wecht C., (ed) Forensic Sciences. Matthew
Bender. New York. 2002 pp 32E3-32E32.

“The Perpetrators and Their Modus Operandi.” (book chapter) Welner, M. In: LeBeau M, Mozayani A (ed)
Drug Facilitated Sexual Assault. Academic Press. London. 2001 pp 39-74.

“Blaming God for (Andrea) Yates.” Welner, M. The Forensic Panel Letter. www.forensicpanel.com. March
17, 2002.

“Anxiety Draws Water Guns in Prison.” (corrections treatment) Welner, M. The Forensic Panel Letter.
www.forensicpanel.com. November 30, 2001.

“The Cult of Al-Qaeda.” (brainwashing and Islamic fundamentalism) Welner, M. The Forensic Panel Letter.
www.forensicpanel.com. October 16, 2001.

Case Commentary: State v. McGann. (examining vulnerability) Welner, M. 30 S.W.3d 540. The Forensic
Panel Letter. www.forensicpanel.com. August 20, 2001.

Case Commentary: Phillips v. UPRC. (black rage & workplace) Welner, M. 216 F.3d 703. The Forensic Panel
Letter. www.forensicpanel.com. August 1, 2001.

“Lose Brain, Save Life” (fraudulent testing and retardation) Welner, M. The Forensic Panel Letter.
www.forensicpanel.com. July 23, 2001.

 
 

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PROFESSIONAL AFFILIATIONS

Medical Society of the State of New York
Committee on Forensic Medicine 1996-present
American Academy of Psychiatry and the Law
American Academy of Forensic Sciences, Member
Alliance for the Mentally III-NYS
Association of the Bar of the City of New York
Criminal Law Committee 1995-97
¢ Researching and proposing revisions to Megan’s Law for New York State
¢ Domestic Violence Task Force

 
 

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EDUCATION
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University of Miami, Coral Gables, Florida 1981-84

Magna Cum Laude, Phi Beta Kappa, Phi Kappa Phi, Golden Key honoree

POSTDOCTORAL TRAINING

Beth Israel Medical Center, New York, New York 1988-89
Rotating Internship (Internal Medicine and Emergency Medicine)

Beth Israel Medical Center, New York, New York 1989-92
Residency (Psychiatry)

University of Pennsylvania, Philadelphia, PA 1991-92

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